AO 9T (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

Souther District of Ohio

 

United States of America }
v. )
Lakia $. Jackson ) Case No. =
) 4
)
)
Defendant(s)
CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of March 2010 in the county of Franklin in the
Southern District of Ohio , the defendant(s) violated:
Code Section Offense Description
21 USC 856(a}(2) knowingly manage or control any building for the purpose of

unlawfully storing, or distributing cocaine

This criminal complaint is based on these facts:

See attached affidavit

O Continued on the attached sheet.
Complainant's signature

Russell Moore Task Force Officer
Printed name and title

Sworn to before me and signed in my presence.
Date: 04/01/2010 Qu ne ay a2
Judge's signature ‘

City and state: Columbus, Chio Terence P. Kemp U.S. Magistrate Judge

Prinied name and tite
AFFIDAVIT

Russell Moore, a Task Force Officer (TFO) with the United States Drug

Enforcement Administration (DEA), being duly sworn, deposes and states:
INTRODUCTION

1. Your Affiant is a “federal law enforcement officer’ within the
meaning of Federal Rule of Criminal Procedure 41(a) (2) (C), that is, a
government agent engaged in enforcing the criminal laws and duly authorized by
the Attorney General to request a search warrant. Your Affiant has been a TFO
since approximately February 2005 and has been involved with narcotics
investigations since that time. Although your Affiant is assigned to work with
DEA, your Affiant is and has been employed by the City of Westerville (Ohio)
Police Department as a police officer since 1989. In 2000, your Affiant was
assigned to the Detective Bureau .

2. Your Affiant has participated in and conducted numerous
investigations of violations of various State and Federal criminal laws, including
the unlawful possession with intent to distribute controlled substances, the
distribution of controlled substances and conspiracy to possess with the intent to
distribute and distribute controlled substances, in violation of Title 21, United
States Code. These investigations have resulted in arrests of individuals who
have possessed with the intent to distribute and distributed marihuana, cocaine,
cocaine base, and heroin as well as other controlled substances. These various
investigations have also resulted in seizures of illegal drugs and proceeds from

the distribution of those illegal drugs.
Additionally, your Affiant has attended numerous courses related to
narcotics trafficking, narcotics identification and narcotics investigation.

3. Your Affiant is familiar with the ways in which narcotic traffickers
conduct their business, including methods of distributing narcotics, the use of
home based telephones and the use of cellular telephones to facilitate their
illegal activities. Your Affiant’s training and experience as a Westerville Police
Detective and as a Task Force Officer with DEA, as well as, your Affiant's
conversations with Special Agents of DEA and local investigators familiar with
narcotics trafficking form the basis of the opinions and conclusions set forth
below.

4. This affidavit is being submitted in support of an application for a
criminal complaint against Lakia S. JACKSON. Your Affiant has probable cause
to believe that, in or about March 2010, in the Southern District of Ohio, Lakia S.
JACKSON did manage or control any place, whether permanently or temporarily,
that is, a residence located at 6336 Royal Tern Crossing, Gahanna, Ohio, either
as an owner or occupant, and did knowingly and intentionally make available for
use, with or without compensation, said place for the purpose of unlawfully
storing and distributing cocaine, a Schedule II controlled substance, in violation
of 21 U.S.C. §§ 856(a) (2). Your Affiant has set forth only those facts that your
Affiant believes are necessary to establish probable cause to arrest Lakia S.

JACKSON.
BACKGROUND INFORMATION

5. Your Affiant has spoken with investigating detectives with the Franklin
County Sheriff's Office in this investigation, reviewed reports and learned the
substance, the following: on March 10, 2010 members of the DEA Columbus
District Office and The Franklin County Sheriffs Office executed a State of Ohio
search warrant at 6336 Royal Tern Crossing, the residence of Sheron
Sanchez Phipps, the subject of a long term narcotic investigation. At the search
warrant agents and investigating officers confiscated and seized items including
but not limited to: cocaine in the amount of 13.6 grams, a Smith and Wesson .40
caliber firearm, a Smith and Wesson 9mm firearm, a Cobra .380 caliber firearm,
ammunition, US currency totaling $12,155.00, a cocaine press, two large metal
containers of Acetone, a large container of Inositol, one hundred and one (101)
unit doses of Oxycodone, digital scales and miscellaneous drug paraphernalia.
Lakia S. JACKSON, the lessee of the apartment and girlfriend of SHERON
SANCHEZ PHIPPS, was present at the time of entry, and agreed to be
interviewed by agents on the scene. Lakia S. JACKSON, hereinafter referred to

as JACKSON, was mirandized and waived her constitutional rights.
A. According to JACKSON, JACKSON has been dating SHERON
SANCHEZ PHIPPS, hereinafter referred to as PHIPPS, for approximately the
last two and a half years. In early 2008, six months into dating PHIPPS,
JACKSON got pregnant by PHIPPS and in December 2008, gave birth to two
twin boys. JACKSON stated that she, PHIPPS and the two children have lived at
this residence of 6336 Royal Tern Crossing since March of 2009. This was
verified by the lease agreement obtained from the rental office of Preserve
Crossing. The lease agreement clearly indicates that JACKSON was the sole
lessor for the address of 6336 Royal Tern Crossing, with the only additional
occupants being her two infant children. JACKSON stated each month she paid
half the rent while PHIPPS paid the other half of the rent to the address of 6336

Royal Tern Crossing.

B. JACKSON told detectives that since meeting and living with
PHIPPS that JACKSON is unaware of any meaningful employment obtained by
PHIPPS. Detective Durbin had already confirmed this by verifying through a
subpoena to the Ohio Department of Taxation, that PHIPPS has not filed taxes in
the years from 2006 through 2008 as of December 30, 2009. JACKSON told
detectives PHIPPS only source of income had been through narcotic trafficking.
JACKSON wrote a statement at the scene verifying that the firearms, (with the
exception of a pink .380 caliber), cocaine and US currency recovered during the

search warrant belonged to solely PHIPPS. JACKSON stated at one point she
has counted $7,000.00 dollars from PHIPPS drug proceeds. Agents on the scene
recovered a large sum of bundled money from a pillowcase on the bed shared by
PHIPPS and JACKSON. JACKSON stated the bindle increments in the bundle
should be banded in $1,000.00 dollars each. JACKSON stated that the money

recovered from the pillow case were proceeds from PHIPPS drug trafficking.

C. Furthermore, JACKSON told investigating detectives that when
PHIPPS conducts drug trafficking activities at their residence, PHIPPS makes
JACKSON retreat to and remain at other levels of the residence of 6336 Royal
Tern Crossing. JACKSON explained this behavior is because PHIPPS trust no
one. JACKSON then explained to agents that previously they (PHIPPS AND
JACKSON) have been robbed at gun point. JACKSON also mentioned that
PHIPPS believed a prior live in girlfriend BRANDY CLAYTOR , the mother of his
other child, had set him up to be robbed at their residence of 443 Streamwater
Blacklick, Ohio. Investigating officers were familiar with this incident and a police
report for burglary was filed. Along with this report were an officers written
summary concerning the incident and statements by BRANDY CLAYTOR in

reference to PHIPPS narcotic trafficking.
CONCLUSION

6. Based on information contained in this affidavit, there is probable
cause to believe that in or about from March 2008- March 2010, in the Southern
District of Ohio, Lakia S. JACKSON did manage or control any place, whether
permanently or temporarily, that is, a residence located at 6336 Royal Tern
Crossing., Gahanna, Ohio, either as an owner or occupant, and did knowingly
and intentionally make available for use, with or without compensation, said
place for the purpose of unlawfully storing and distributing cocaine, a Schedule |I

controlled substance, in violation of 21 U.S.C. §§ 856(a) (2).

Further your Affiant sayeth not.

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Russell Moore
Task Force Agent
Drug Enforcement Administration

Subscribed and Sworn to before me
this!s€ dayof Apr ,2010

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Terence P. Kemp
U.S. Magistrate Judge
Southern District of Ohio
